                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 SYNGENTA CROP PROTECTION,                  )
 LLC,                                       )
              Plaintiff,                    )
                                            )
               v.                           )        1:15-CV-274
                                            )
 WILLOWOOD, LLC, et al.,                    )
              Defendants.                   )

  ORDER GRANTING WILLOWOOD’S CONSENT MOTION REQUESTING
 THAT THE COURT ACCEPT PAYMENT OF SUPERSEDEAS APPEAL BOND

       Currently before the Court is the motion of Defendants Willowood, LLC and

Willowood USA, LLC (collectively, “Willowood”), asking that the Court accept payment

of a supersedeas appeal bond in the above-captioned matter in the total amount of

$1,115,666.47. Having considered Willowood’s motion, the Court finds good cause for

the relief requested. Accordingly, it is hereby ORDERED that Willowood’s Motion

Requesting that the Court Accept Payment of Supersedeas Appeal Bond is GRANTED.

The Clerk of Court is hereby directed to accept payment, by cash or certified check, of a

supersedeas appeal bond in this matter in the total amount of $1,115,666.47. The Clerk

of Court is further directed to hold the bond funds in an interest-bearing account or

instrument under the Court Registry Investment System. At the conclusion of the appeal

in this matter to the United States Court of Appeals for the Federal Circuit, any party may

petition the Court for release of the bond funds.

         This the 8th day of June, 2018.

                                           __________________________________
                                            UNITED STATES DISTRICT JUDGE




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